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 10
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 11 LABORATORIES, LLC and Defendant JAMES MATTHEW STEPHENS
 12                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 13
    DR. GREENS, INC., a California                  )       No.   11cv0638 JAH (KSC)
 14 corporation,                                    )
                                                    )
 15                  Plaintiff,                     )       SPECTRUM LABORATORIES,
                                                    )       LLC’S MOTION FOR AN ORDER
 16 v.                                              )
                                                    )       TO SHOW CAUSE AGAINST
 17 JAMES MATTHEW STEPHENS,                         )       COUNTERCLAIM DEFENDANTS
    an individual, and SPECTRUM                     )       AND GARY EASTMAN
 18 LABORATORIES, LLC, an Ohio                      )
    limited liability company,                      )
 19                                                 )       Hearing Date: March 2, 2020
                  Defendant.                        )       Time:         2:30 p.m.
 20                                                 )
                                                    )       Dept:         13B
 21                                                 )
      AND RELATED CROSS ACTION                      )       Judge: HON. JOHN A. HOUSTON
 22                                                 )
                                                    )       Filed: March 29, 2011
 23                                                 )       Trial: held February 13, 2018
                                                    )
 24
 25
      I.       Introduction
 26
               Counterclaim Plaintiff Spectrum Laboratories, LLC (“Spectrum”) hereby
 27
 28
      {8553522:5 }                                      1                      11cv0638 JAH (KSC)
           MEMORANDUM IN SUPPORT OF DEFENDANT AND COUNTERCLAIMANT SPECTRUM LABORATORIES, LLC AND
                    DEFENDANT JAMES MATTHEW STEPHENS’ MOTION FOR ORDER TO SHOW CAUSE
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  1 moves this Court for an order requiring: (i) Counterclaim-Defendant Dr. Greens, Inc.
  2 (“Dr. Greens”), (ii) Counterclaim-Defendant Matthew Robert Green, (“Mr. Green”),
  3 and their trial counsel Gary Eastman to show cause as to why they should not all be
  4 held in contempt for violating the Court’s February 23, 2018 order barring Dr.
  5 Greens and Mr. Green from “transferring any monies from any accounts held … by
  6 Dr. Greens … outside of ordinary, routine business expenses that [Mr. Green has]
  7 been paying to keep [his] business going … until further order of the Court.” (ECF
  8 #334, at 8-9). Spectrum has discovered that Dr. Greens and Mr. Green, with the
  9 active participation and assistance of counsel, have violated the Court’s order by
 10 moving Dr. Greens’ assets in at least two different ways: (i) moving the Dr. Greens
 11 business and its related assets out-of-state, and (ii) transferring Dr. Greens’ business
 12 assets into a company called “AR Acquisitions, LLC” that was apparently formed by
 13 Mr. Eastman and which holds certain Dr. Greens’ assets for the benefit of Mr.
 14 Eastman (Mr. Eastman appears to have completed the transfer of assets to AR
 15 Acquisitions within hours of the jury verdict and the Court’s order that Dr. Greens’
 16 assets not be transferred). The Court should order Dr. Greens, Mr. Green, and Mr.
 17 Eastman to show cause why they should not be held in contempt.
 18 II.        Background
 19            On February 23, 2018, the jury unanimously found for Spectrum on 11 out of
 20 11 counts. (ECF #334). After the reading of the verdict, Spectrum, concerned that
 21 Dr. Greens and Mr. Green may attempt to move assets or monies to avoid judgment
 22 collection, moved for an order preventing such an action. (Id. at 8). The Court
 23 agreed and prohibited Mr. Green or Dr. Greens from
 24                  transferring any monies from any accounts held, whether
                     personal accounts, business accounts, other entities
 25
                     controlled or owned by Dr. Greens or [Mr. Green], outside
 26                  of ordinary, routine business expenses that [Mr. Green has]
                     been paying to keep [his] business going between
 27
                     [February 28, 2018] and until further order of the Court.
 28
      {8553522:5 }                                 2                         11cv0638 JAH (KSC)
         MEMORANDUM IN SUPPORT OF DEFENDANT AND COUNTERCLAIMANT SPECTRUM LABORATORIES, LLC AND
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  1 (Id. at 8-9) (the “Order”). The Court adjourned at 2:03 p.m. (Id.)
  2            In January, 2020, counsel for Spectrum learned that, contrary to the Court’s
  3 direct order, Mr. Green and Dr. Greens had, at a minimum, been moving their
  4 business and assets out of state. (Gordon-Seifert Decl. at ¶¶ 5-9). Specifically, Dr.
  5 Greens posted on its website on or about January 4, 2020, that it was unable to take
  6 online orders because it was “in the process of relocating our corporate office over
  7 the holidays.” (Gordon-Seifert Decl. at ¶ 5; Exhibit A, attached). To confirm that
  8 this was the case, and once the website was back online, on January 7, 2020, an order
  9 was placed with Dr. Greens. (Gordon-Seifert Decl. at ¶ 6). On January 9, 2020, the
 10 United Parcel Service (“UPS”) sent notification that product had left its point of
 11 origin and further provided a tracking number, 1Z7R94A40343396701. (Gordon-
 12 Seifert Decl. at ¶ 7; Exhibit B). Shipping details associated with the tracking number
 13 revealed that the product shipped had originated in Vancouver, Washington.
 14 (Gordon-Seifert Decl. at ¶ 8; Exhibit C). According to Dr. Greens’ website, however,
 15 all orders should originate in California, which is demonstrably false. (Gordon-
 16 Seifert Decl. at ¶ 9; Exhibit D).
 17            To see if it was missing something, counsel for Spectrum emailed counsel for
 18 Dr. Greens’ counsel, Gary Eastman, on January 2, 2020. (Cupar Decl. at ¶ 6, Exhibit
 19 E). After waiting two weeks, counsel for Spectrum again emailed Mr. Eastman and
 20 provided a deadline of January 16, 2020 to respond. (Cupar Decl. at ¶ 7, Exhibit F).
 21 That same day, Mr. Eastman responded and informed counsel that he would
 22 “respond more fully” the next day. (Cupar Decl. at ¶ 7, Exhibit F).
 23            On January 18, 2020, Mr. Eastman provided explained that due to his client’s
 24 “significant accounts receivable” with his firm, and following a hearing where he
 25 withdrew his motion to withdraw, he agreed to continue representation, but only
 26 after Dr. Greens agreed to a UCC security guarantee against Dr. Greens for the
 27 payment of fees. (Cupar Decl. at ¶ 8, Exhibit G). That UCC security guarantee was
 28
      {8553522:5 }                                 3                         11cv0638 JAH (KSC)
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  1 filed in California on February 23, 2018 at 3:07 p.m, around 1 hour after this
  2 Court had ordered Dr. Greens not to move any assets. (Cupar Decl. at ¶ 10,
  3 Exhibit H, at 16 of 27). Mr. Eastman did not disclose his intention to do so at the
  4 hearing an hour before, nor did he inform the Court of this security guarantee after it
  5 had been filed. It appears that Mr. Eastman sat quietly about the state of Dr. Greens’
  6 assets because he wanted to avoid Spectrum and the Court learning about the “AR
  7 Acquisition” scheme and wanted to hinder Spectrum’s collection efforts.
  8            After verdict, when “it became apparent that Dr. Greens and Matt Green were
  9 either unwilling or unable to pay their outstanding bill,” Mr. Eastman explained that
 10 the account receivable was assigned to AR Acquisitions, a California Limited
 11 Liability Company specially formed to enforce the collection matter and the terms of
 12 the UCC agreement. (Cupar Decl. at ¶ 8, Exhibit G). On June 21, 2018, AR
 13 Acquisitions initiated a lawsuit against Matt Greens and Dr. Greens to collect the
 14 outstanding legal fees.       (Cupar Decl. at ¶ 9, Exhibits G and H (complaint)).
 15 According to Mr. Eastman, through the “deposition of Matt Green and pursuant to
 16 the UCC security agreement, AR Acquisition obtained possession of all UCC
 17 secured assets of Dr. Greens, Inc.” (Cupar Decl. at ¶ 11, Exhibit G).
 18            The reason for the move of Dr. Greens to Washington, Mr. Eastman
 19 explained, was because on January 1, 2020, California’s Assembly Bill No. 851
 20 came into effect and banned the distribution, delivery, or sale of synthetic urine in
 21 California. (Cupar Decl. at ¶ 12, Exhibit G). Thus, AR Acquisitions relocated its
 22 operations to Washington State as “Pacific Inventory Services, LLC.” (Cupar Decl.
 23 at ¶ 12, Exhibit G). At no point did Mr. Green, Dr. Green, or Mr. Eastman inform
 24 the court of any of this activity prior to January 18, 2020. (Cupar Decl. at ¶ 13). And
 25 all of these actions of moving assets between different entities and then out-of-state
 26 is a clear violation of the Court’s order.
 27
 28
      {8553522:5 }                                 4                         11cv0638 JAH (KSC)
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  1 III.       Argument
  2            Federal courts have both inherent and statutory authority to compel
  3 compliance with their orders. International Union, UMWA v. Bagwell 512 US 821,
  4 831-833(1994); 18 USC §§ 401-402. If the purpose of the relief is to “coerce
  5 compliance with a court order, or to compensate the petitioner for the refusal,” the
  6 contempt proceeding is civil in nature. Am. Registry of Radiologic Technologists v.
  7 Moultry, No. 3:16-CV-1322-JAH-KSC, 2018 WL 1108730, at *2 (S.D. Cal. Mar. 1,
  8 2018) (citing Bagwell, 512 U.S. at 827-828); see also F.J. Hanshaw Enters., Inc. v.
  9 Emerald River Dev., Inc., 244 F.3d 1128, 1137–38 (9th Cir. 2001) (noting that civil
 10 penalties must either compensate the complainant or designed to coerce the
 11 contemnor into compliance).
 12            To hold a party in contempt, a court must find by clear and convincing
 13 evidence that the party violated a specific and definite order and that it had sufficient
 14 notice of its terms and the fact that it would be sanctioned if it did not comply. See In
 15 re Dyer, 322 F.3d 1178, 1190–91 (9th Cir. 2003) (“The standard for finding a party
 16 in civil contempt is well settled: The moving party has the burden of showing by
 17 clear and convincing evidence that the contemnors violated a specific and definite
 18 order of the court.”). “In civil contempt proceedings [,] the contempt need not be
 19 willful.” McComb v. Jacksonville Paper Co., 336 U.S. 187, 191, 69 S.Ct. 497, 93
 20 L.Ed. 599 (1949). Verizon California Inc. v. OnlineNIC, Inc., 647 F. Supp. 2d 1110,
 21 1115 (N.D. Cal. 2009).
 22            In direct violation of this Court’s Order, Dr. Greens, Mr. Green, and Mr.
 23 Eastman, have moved assets outside of “routine business expenses” as contemplated
 24 by this Court. There has been no “further order” regarding the movement of assets,
 25 therefore the Order is in effect. Mr. Eastman filed the UCC security guarantee (and
 26 perfected a transfer of assets) a mere hour after this Court ordered him and his clients
 27 not to move any assets, knowing full well that it violated the Order. Accordingly, by
 28
      {8553522:5 }                                 5                         11cv0638 JAH (KSC)
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  1 filing a UCC security guarantee transferring assets to Mr. Eastman, moving the
  2 business out of state, its inventory, and presumably all of its other assets, Dr. Greens,
  3 Mr. Green, Mr. Eastman have violated the Order and should be held in contempt of
  4 Court.
  5            Further, this Court should use its inherent authority to: (i) void the transaction,
  6 (ii) preserve the assets for judgment, and (iii) order that Gary Eastman (personally
  7 and his law firm), AR Acquisitions, Pacific Inventory Services, LLC , and any other
  8 entity to which Mr. Eastman, Mr. Green, or Dr. Greens have transferred assets are all
  9 liable for the entire judgment entered in this case.
 10 IV.        Conclusion
 11            For the foregoing reasons, Counterclaim Plaintiff Spectrum respectfully
 12 requests that this Court enter an Order requiring Counterclaim Defendant Dr. Greens,
 13 Counterclaim Defendant Mr. Green, and Mr. Eastman to appear and show cause why
 14 they should not be held in contempt of Court for failing to comply with the Court’s
 15 February 28, 2018 Order, and providing such other relief as this Court deems just
 16 and proper.
 17
 18 DATED: January 21, 2020                               MCDONALD HOPKINS LLC

 19                                             By:       /s/ David Cupar              .
 20                                                       David Cupar

 21                                                       Attorneys for Defendant and
 22                                                       Counterclaimant
                                                          SPECTRUM LABORATORIES, LLC
 23                                                       and
 24                                                       Defendant JAMES MATTHEW
                                                          STEPHENS
 25
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